       Case 2:19-cv-09733-JC Document 20 Filed 10/19/20 Page 1 of 1 Page ID #:1328



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 7                                   UNITED STATES DISTRICT COURT
 8                                  CENTRAL DISTRICT OF CALIFORNIA

 9
      LIZETH O.,1                                       Case No. 2:19-cv-09733-JC
10
                             Plaintiff,
11                                                      JUDGMENT
                        v.
12
13    ANDREW SAUL, Commissioner of Social
      Security Administration,
14
15                      Defendant.

16
17          IT IS HEREBY ADJUDGED that the decision of the Commissioner of Social Security

18   Administration is AFFIRMED.

19
     DATED: October 19, 2020
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                                           _______________/s/______________________
21
                                           Honorable Jacqueline Chooljian
22
                                           UNITED STATES MAGISTRATE JUDGE
23
24
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            1
              Plaintiff’s name is partially redacted to protect her privacy in compliance with Federal Rule
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     of Civil Procedure 5.2(c)(2)(B) and the recommendation of the Committee on Court
     Administration and Case Management of the Judicial Conference of the United States.
